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                           Exhibit C
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

CALEB BARNETT, et al.,
     Plaintiffs,
              vs.
                                             Case No. 3:23-cv-209-SPM
KWAME RAOUL, et al.,
                                             ** designated Lead Case
     Defendants.

DANE HARREL, et al.,
     Plaintiffs,
              vs.
                                             Case No. 3:23-cv-141-SPM
KWAME RAOUL, et al.,
     Defendants.

JEREMY W. LANGLEY, et al.,
     Plaintiffs,
              vs.                            Case No. 3:23-cv-192-SPM
BRENDAN KELLY, et al.,
     Defendants.

FEDERAL FIREARMS
LICENSEES OF ILLINOIS, et al.,
      Plaintiffs,
                                             Case No. 3:23-cv-215-SPM
               vs.
JAY ROBERT “JB” PRITZKER, et al.,
      Defendants.



                   SECOND SUPPLEMENTAL DECLARATION OF
                           JAMES E. YURGEALITIS
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                       SECOND SUPPLEMENTAL DECLARATION OF
                               JAMES E. YURGEALITIS

 I, James E. Yurgealitis, declare as follows:

       1.      I am submitting this declaration to further supplement and clarify my June 16, 2023

supplemental declaration (ECF 116-1, “June Declaration”).

       2.      I specifically wish to address the assertions made by Matthew Wilson, a plaintiff in

the Langley case, about paragraph 8 of my June Declaration in Mr. Wilson’s June 27, 2023 affidavit

(ECF 117-1, “Wilson Affidavit”). In paragraph 8 of my June Declaration, I listed fifteen handgun

models or series “from well-established manufacturers that feature 15-rounds magazines that are not

interchangeable with any rifles or other long guns[.]” June Declaration ¶ 8. In paragraph 6 of the

Wilson Affidavit, Mr. Wilson claims that my statements in paragraph 8 of my June Declaration are

“largely false[.]” Wilson Affidavit ¶ 6.

       3.      I respectfully disagree with Mr. Wilson in several instances regarding his

characterization of which handgun models use magazines that are “interchangeable” with rifles or

other long guns. Much of my disagreement with him comes from at least two main differences in how

we assess what is “interchangeable”.

       4.      First, I do not believe magazines that require physical modification in order to fit and

function in another firearm type are “interchangeable.” Nor do I believe that the addition of parts or

accessories to a rifle in order for it to accept magazines not originally intended and / or supplied for

and / or with that rifle renders magazines “interchangeable.”

       5.      Second, I do not believe that whether out-of-production rifles and other long guns

might have been able to accept a particular magazine matters to the average person looking to

purchase a magazine today.




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                       Mr. Wilson’s Examples Requiring Physical Modification

       6.      Mr. Wilson identifies at least three handguns from my list using magazines that would

require physical modification in order to be “interchangeable”: the CZ Model 75, the CZ Shadow,

and the Springfield Armory XD Series.

       7.      Regarding the CZ Model 75 and Shadow series, Mr. Wilson claims that these

handguns “use the same magazine, and the magazines are also used in the Kel Tec Sub 2000 Gen 2

rifles.” Wilson Affidavit ¶ 6(a). Mr. Wilson’s affidavit then cites to four attached exhibits, the first

two of which, Exhibits A and B, are “mag catch kits” available for sale that enable the modification

of the Kel-Tec Sub 2000 Gen 2 rifle to accept Model 75 and Shadow magazines. Wilson Affidavit,

Exhibits A & B. These “mag catch kits” include parts used to physically modify the rifle to accept

magazines originally designed for the Model 75 and Shadow. In my professional opinion, installing

additional parts or accessories (or performing some other physical modification) to a rifle in order to

utilize magazines from another weapons platform does not automatically render those magazines

“interchangeable.”

       8.      Mr. Wilson also says in his affidavit that magazines for the Springfield Armory XD

Series “are largely interchangeable with the Beretta M92 Series, except that one needs to cut a single

notch in the XD magazines to make them work in the M92, or a single notch in a M92 Beretta

magazine to make them work in an XD.” Wilson Affidavit ¶ 6(d). Once again, in my professional

opinion, a magazine that requires physical modification in order to be used in another firearm is not

“interchangeable” with that other firearm.




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                        Mr. Wilson’s References to Out-of-Production Firearms

        9.      Mr. Wilson also identifies various out-of-production firearms that he says are capable

of accepting magazines from the handguns I identified in paragraph 8 of my June Declaration. My

focus in preparing my June Declaration was on interchangeability with rifles that are still in

production and being imported for sale at licensed firearms dealers now, in 2023.

        10.     My understanding of the Langley plaintiffs’ concerns about the difference between the

15-round and 10-round magazine threshold in Public Act 102-1116 was that average people looking

to acquire magazines for their firearms might not be able to determine what they can legally purchase

in Illinois.

        11.     Based on this understanding, my focus in my June Declaration was on looking at the

current retail market for firearms and magazines in Illinois. I do not believe an average person looking

to buy a handgun or 15-round handgun magazine now would care whether the firearm’s magazine

could have been used in a rifle that has been out of production since the 1980s or 1990s.

        12.     For example, Mr. Wilson references the Tanfoglio TZ 75, which he acknowledges was

“formerly imported by FIE in Florida in the 1980s,” and the AR-24 Pistol, which he likewise

acknowledges was “formerly imported by Armalite[.]” Wilson Affidavit 6(a).               Both of these

handguns are a derivation or copy of the Czech CZ-75 (still being produced in different variants)

however the TZ 75 and AR-24 pistols have been out of production over a decade. As a result, I do

not believe it will matter to the average person going into a firearm retailer in Illinois today how many

rounds the magazines for these firearms could hold, and whether those magazines are interchangeable

in a rifle or other long gun.

        13.     Similarly, Mr. Wilson notes that the Smith & Wesson 5900 series, although

discontinued, “uses the same magazine as the also discontinue[d] Marlin Camp rifle, in 9mm,” and

that “Marlin camp rifles used to be sold a[t] most Wal-Marts.” Wilson Affidavit ¶ 6(b). Mr. Wilson

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then cites a Wikipedia article as the basis for his claim that the Marlin Camp rifle can accept the same

magazine as a Smith & Wesson 5900 handgun.

       14.     In my experience, a professional firearms expert would not rely exclusively on a

Wikipedia article to determine whether a magazine could be used in a particular firearm. Without

knowing more about the manufacturer’s specifications for the particular Marlin Camp Rifle model

that Mr. Wilson is referencing, I cannot definitively say whether he is correct that a Smith & Wesson

5900 handgun magazine is “interchangeable” (meaning fully operable and absent any modification)

without encountering problems (jamming or other failure to properly feed ammunition) in a Marlin

Camp Rifle. Nor can I state with any degree of certainty that the Wikipedia article Mr. Wilson

references is authoritative or even correct. The rifle has been out of production for nearly a quarter of

a century as Marlin ceased production in 1999.

       15.     Mr. Wilson also said in his affidavit that Ruger P85 and P89 pistols “use the same

magazine as the Ruger PC9 rifle.” Wilson Affidavit ¶ 6(c).

         16.   Mr. Wilson’s statement about what magazines function in a Ruger PC9 also struck me

 as inconsistent with my knowledge of that particular rifle. After reviewing Mr. Wilson’s affidavit,

 I contacted Ruger to ask whether magazines for the P85 and P89 pistols can be used in a PC9 rifle.

 I was informed by Ruger’s customer service department that P85 magazines are not interchangeable

 with the PC9 rifle. I was also informed that P89 magazines (from pistols in a certain serial number

 range) were interchangeable with some PC9 rifles manufactured in 2003 or earlier, but not later

 models.

       17.     Based on this production history, I wish to qualify my prior statement in paragraph 8

of my June Declaration regarding the P89 to acknowledge that some P89 magazines are

interchangeable with PC9 rifles manufactured prior to 2004. Neither firearm is currently in production

today as Ruger ceased production of the P89 in 2007 and the PC9 rifle in 2006.

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       18.    I reserve the right to amend, supplement, or correct this declaration, as well as my

prior declarations, including my February Declaration and my June Declaration, in these consolidated

actions.




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